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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


JOHN A. KNOX,                               )
Individually, and on behalf of all others   )
Similarly situated,                         )
                                            )
               Plaintiff                    )
                                            )
vs.                                         )       CASE NO. 1:21-cv-00885-SEB-MJD
                                            )
GLA COLLECTION COMPANY, INC.,               )
                                            )
               Defendants                   )
                                            )

                           ORDER OF DISMISSAL WITH PREJUDICE

       The parties' Stipulation of Dismissal having been submitted for the consideration of the

Court and the Court being fully advised in the premises, and it appearing to the Court that

matters in controversy in the above-entitled cause of action involving the Plaintiff, John A.

Knox, and the Defendant, GLA Collection Company, Inc., including all claims contained in

Plaintiff’s Complaint as directed against the Defendant, GLA Collection Company, Inc., have

been fully compromised and settled, the Court now APPROVES the parties' Stipulation of

Dismissal, and it is

       ORDERED by the Court that this cause be and the same hereby is dismissed with

prejudice as to GLA Collection Company, Inc., and said parties to pay their own costs.

                     1/21/2022
       DATED ____________________________________________



                                                _______________________________
                                                 SARAH EVANS BARKER, JUDGE
                                                 United States District Court
                                                 Southern District of Indiana
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TENDERED BY:

/s/ William E. Smith, III
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